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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :      15 Cr. 607 (JPC)
                                                                       :
EDWIN MOYE,                                                            :   MEMORANDUM OPINION
                                                                       :       AND ORDER
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        Defendant Edwin Moye is a federal inmate who moves for compassionate release from

prison because of the COVID-19 pandemic. For the reasons that follow, the Court finds that Moye

has failed to show “extraordinary and compelling reasons” under 18 U.S.C. § 3582(c)(1)(A)(i).

And even if Moye had made that showing, several section 3553(a) factors weigh heavily against

releasing him early from prison. The Court therefore denies Moye’s motion for compassionate

release.

                                               I. Background

        From 2012 to September 2015, Moye was a member of the Leland Avenue Crew, a violent

gang in the Bronx, New York. Dkt. 176 (“PSR”) ¶ 15. The Leland Avenue Crew distributed

cocaine base, commonly known as crack cocaine, and committed acts of violence against rival

gang members, including murder and attempted murder. Id. ¶¶ 16-21. Moye himself distributed

crack cocaine on Leland Avenue and used a firearm in narcotics trafficking. Id. ¶ 31. In addition,

on March 28, 2013, Moye and Marquise Rochester, another Leland Avenue Crew member, were

involved in the attempted murder of a rival gang member. Id. ¶¶ 22, 24, 31. Moye and Rochester

approached their victim, chased him, and either Moye or Rochester shot their victim, with the
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bullet passing through his leg. Id. ¶¶ 24, 31. With their victim on the ground, either Moye or

Rochester hit him over the head with an object before fleeing. Id.

       On October 24, 2016, Moye pleaded guilty to one count of conspiracy to engage in

racketeering, in violation of 18 U.S.C. § 1962(d), and one count of discharging a firearm in relation

to a crime of violence and a drug trafficking crime, in violation of 18 U.S.C. § 924(c)(l)(A)(iii).

Id. at 7; Dkt. 139 at 10. As part of his plea agreement, Moye and the Government agreed to an

offense level of 29 on Count One. PSR ¶ 6. The second count carried a consecutive mandatory

minimum sentence of five years. Id. With a Criminal History Category of V, the resulting advisory

Guidelines range was 200 to 235 months’ imprisonment. Id.

       At sentencing, the Honorable William H. Pauley III similarly calculated a Guidelines range

of 200 to 235 months’ imprisonment. Dkt. 251 (“Sentencing Tr.”) at 12-13. Judge Pauley noted

the seriousness of Moye’s offense, explaining that Moye’s Leland Avenue Crew “created

ma[y]hem in and around Leland Avenue fighting with the Taylor Avenue Crew over customers

and a pattern of escalating violence involving murders on both sides.” Id. at 13. Judge Pauley

further cited Moye’s “personal[] involve[ment] in the shooting of a Taylor Avenue Crew member

and participat[ion] in a robbery in the Port Chester apartments.” Id. Judge Pauley further noted

Moye’s troubling criminal history. Id. Judge Pauley commented that Moye, who was 27 years

old at the time, yet had been “in and out of jail” for the prior eleven years, reflecting “a decade-

long pattern of criminal conduct.” Id. Applying the section 3553(a) factors, Judge Pauley then

sentenced Moye to 156 months in prison, reflecting 96 months on Count One and a consecutive

60 months on Count Two, to be followed by a five-year term of supervised release. Id. at 15.

        Moye is incarcerated at United States Penitentiary, Hazelton in Bruceton Mills, West

Virginia (“USP Hazelton”). Dkt. 291 (“Motion”) at 8. On January 29, 2021, he moved for



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compassionate release, proceeding pro se. He claims to have previously petitioned the warden at

Hazelton on October 8, 2020 for the same. Id. at 1. 1 The Government opposes the motion, arguing

that Moye “cannot meet the threshold requirement of establishing extraordinary and compelling

circumstances.” Opposition at 1. This case was reassigned to the undersigned on July 6, 2021.

                                     II. Legal Standard

       Under 18 U.S.C. § 3582(c)(1)(A), defendants may seek compassionate release from prison.

United States v. Thomas, No. 15 Cr. 667 (KPF), 2020 WL 6364677, at *4 (S.D.N.Y. Oct. 29,

2020). After the First Step Act, district courts now face two questions in resolving these motions:

(1) whether extraordinary and compelling circumstances merit reducing the sentence and (2)

whether the applicable section 3553(a) factors warrant the reduction. See United States v. Pabon,

No. 17 Cr. 312 (JPC), 2021 WL 603269, at *2 (S.D.N.Y. Feb. 16, 2021). In doing so, the

Sentencing Commission’s policy statement in U.S.S.G. § 1B1.13 no longer limits district courts.

United States v. Brooker, 976 F.3d 228, 237 (2d Cir. 2020). Instead, courts may “consider the full

slate of extraordinary and compelling reasons that an imprisoned person might bring before them

in motions for compassionate release.” Id.

       To justify compassionate release, the defendant must “show that he is eligible for and

deserving of compassionate release.” United States v. Newton, No. 18 Cr. 373 (RJS), 2021 WL

321847, at *2 (S.D.N.Y. Feb. 1, 2021). But even if a defendant makes that showing, “[a] court is

not required to reduce a sentence on compassionate release grounds” because the decision “rests

in the discretion of the court.” United States v. Gotti, 433 F. Supp. 3d 613, 619 (S.D.N.Y. 2020).




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        The Government contends that USP Hazelton lacks a record of the request to the warden.
Dkt. 292 (“Opposition”) at 4. Because exhaustion would not affect the Court’s disposition, it
assumes without deciding that Moye properly exhausted.

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                                        III. Discussion

A. Extraordinary and Compelling Reasons

       While Moye seeks compassionate release due to the COVID pandemic, he does not point

to any underlying health conditions that exacerbate the risk he faces from the virus. Instead, he

marshals evidence of the unique problems the virus creates for prisons and prisoners, see Motion

at 4, and argues that the protocols at USP Hazelton to address the pandemic have resulted in inmate

isolation and modified operations, id. at 5-8.

       The Court disagrees that the pandemic alone entitles Moye to compassionate release.

Many courts have found that “the risks posed by the [COVID-19] pandemic alone do not constitute

extraordinary and compelling reasons for release, absent additional factors such as advanced age

or serious underlying health conditions that place a defendant at greater risk of negative

complications from the disease.” United States v. Nwankwo, No. 12 Cr. 31 (VM), 2020 WL

2490044, at *1-2 (S.D.N.Y. May 14, 2020) (collecting cases); see also Pabon, 2021 WL 603269,

at *1; Thomas, 2020 WL 6364677, at *4. Here, Moye has failed to show such additional factors.

       It appears that Moye is a healthy young man, only 31 years old, and he points to no

underlying health condition that places him at a greater risk of serious illness were he to contract

COVID-19. See United States v. Mason, No. 96 Cr. 126 (JFK), 2021 WL 37576, at *3 (S.D.N.Y.

Jan. 5, 2021) (recognizing that the CDC has warned that COVID-19 is especially risky for

individuals age 65 and older); Pabon, 2021 WL 603269, at *4 (same). And infection rates are low

at USP Hazelton. According to the Federal Bureau of Prisons, no inmates and only five staff

members have COVID-19 infections as of October 15, 2021. Fed. Bureau of Prisons, COVID-19

Cases, http://www.bop.gov/coronavirus (last visited Oct. 15, 2021). And “[t]he Bureau of Prisons

has also taken substantial steps to mitigate the risks that COVID-19 presents.” United States v.



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Rollins, No. 13 Cr. 362 (JPC), 2021 WL 4664923, at *3 (S.D.N.Y. Oct. 6, 2021). It is therefore

unclear whether Moye would have any lower chance of catching COVID-19 if released. Moye

has thus failed to show “that any risk related to COVID-19 constitutes an ‘extraordinary and

compelling’ reason justifying his early release from prison.” Pabon, 2021 WL 603269, at *4; see

also United States v. Kiel, No. 13 Cr. 51 (LG) (RHW), 2021 WL 4037839, at *2 (S.D. Miss. Sept.

3, 2021) (denying compassionate release to an inmate at USP Hazelton).

       In sum, the Court has considered all the reasons mentioned above and any others that Moye

raises in passing in his motion papers, both individually and collectively, and finds that no

extraordinary or compelling reason justifies releasing him from prison.

B. Section 3553(a) Sentencing Considerations

       But even if Moye had shown “extraordinary and compelling reasons” for compassionate

release, the Court would still deny his motion because the section 3553(a) factors weigh heavily

against his early release from prison. The following section 3553(a) factors in particular warrant

keeping Moye’s sentence of imprisonment intact: (1) “the nature and circumstances of the

offense,” (2) the need for the sentence “to reflect the seriousness of the offense, to promote respect

for the law, and to provide just punishment for the offense,” (3) the need “to afford adequate

deterrence to criminal conduct,” and (4) the need “to protect the public from further crimes of the

defendant.” 18 U.S.C. § 3553(a)(1), (2)(A)-(C).

       To begin with, Judge Pauley emphasized at sentencing the “very serious” nature of Moye’s

offense. Sentencing Tr. at 12. Moye’s Leland Avenue Crew “created ma[y]hem . . . and a pattern

of escalating violence involving murders on both sides” of its rivalry with the Taylor Avenue

Crew. Id. at 13. Moye himself trafficked crack cocaine and was involved in a shooting of a Taylor

Avenue Crew member. Id. at 12-13.



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       Moye’s long criminal history also counsels against releasing him. Moye’s criminal history

includes eight convictions, including the instant conviction and one for manslaughter. See PSR

¶¶ 64-70 (listing seven convictions besides his current one). As Judge Pauley put it: “For the last

11 years [Moye] has been in and out of jail and charged with various crimes, some of them quite

serious and others not necessarily so serious; but just a pattern, a decade-long pattern of criminal

conduct.” Sentencing Tr. at 13.

       Moye’s behavior while incarcerated also shows a risk of recidivism upon release from

custody. While incarcerated before sentencing, Moye was involved in ten disciplinary incidents.

PSR ¶ 14; see also Sentencing Tr. at 14. Moye’s disciplinary records since show continued

problems, including possession of a dangerous weapon in prison in October 2020. See Opposition,

Exh. 1 at 1.

       The section 3553(a) factors therefore compel the conclusion that Moye should not be

released early from his imposed sentence. Anything less would undermine the important interests

that Judge Pauley properly recognized at sentencing, including the seriousness of Moye’s crime,

as well as the need for just punishment for the offense, for specific deterrence, and to protect

society from Moye committing further crimes.

                                       IV. Conclusion

       For the above reasons, the Court denies Moye’s motion for compassionate release. The

Clerk of Court is respectfully directed to terminate the motion pending at Docket Number 291 and

to mail a copy of this Memorandum Opinion and Order to Moye.

       SO ORDERED.

Dated: October 16, 2021                                __________________________________
       New York, New York                                       JOHN P. CRONAN
                                                             United States District Judge



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